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MARC A. AGNIFILO (NY 2476182)
TENY R. GERAGOS (NY 5517693)
BRAFMAN & ASSOCIATES, P.C.
767 Third Avenue, Floor 26
New York, NY 10017-2023
Telephone: (212) 750-7800
Facsimile: (212) 750-3906
Email: marc@braflaw.com
       tgeragos@braflaw.com

WALTER F. BUGDEN, JR. (480)
BUGDEN & ISAACSON, L.L.C.
445 East 200 South, Suite 150
Salt Lake City, UT 84111
Telephone: (801) 467-1700
Facsimile: (801) 746-8600
Email: Wally@bilaw.net

Attorneys for Defendant


                       IN THE UNITED STATES DISTRICT COURT
                        DISTRICT OF UTAH / CENTRAL DIVISION


UNITED STATES OF AMERICA,

                      Plaintiff,                      OBJECTION TO TRIAL ORDER

               vs.                                     Case No. 2:18-cr-00365-JNP-BCW

JACOB ORTELL KINGSTON,                                   District Judge Jill N. Parrish
                                                        Magistrate Judge Brook C. Wells
                      Defendant.



       Jacob Ortell Kingston, by and through counsel, hereby provides the following objection

to the Court’s Trial Order. (Doc 256.)

       Counsel is in receipt of, and thanks the Court for the Trial Order dated April 5, 2019.

However, on behalf of Mr. Kingston, we wish to humbly raise objections to one aspect of the
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Trial Order, specifically that part setting forth that the Government shall have 120 trial hours to

complete its case and each defendant 24 trial hours to complete their respective cases. While

each counsel shares the Court’s view that this very complex and serious case should be

completed with efficiency and without undue delay, we believe that the time limits set by the

Court are, most respectfully, problematic for several reasons.

       1.      Time Limits Cannot Be Set This Far in Advance of Trial

       As an initial matter, the defense asserts that we are simply too far from the trial, both in

terms of time and in terms of our knowledge of what the Government’s evidence involves, for

any party, and certainly the defense, to know how long the trial will take to complete, and how

long each party will need to bring forth the facts required for fair consideration by the jury. By

way of an example, the Court will recall that the Government’s initial assessment of the length of

the trial was four or five weeks, even though such was in contemplation of the five-defendant

case we now have. It was the defense that first stated to the court that the trial would be

considerably longer than that based on the number of potential cooperating witnesses, each of

whom would offer highly important testimony and accordingly would be cross examined for

several days. The point of course is not that any party predicted incorrectly, but rather that

predictions of trial length are inherently unreliable months before the trial begins and subject to

change as the trial draws near.

       The Government subsequently revised its estimate based on conversations with defense

counsel, and presumably its own re-assessment of its direct case. (See Doc. 198, Position of the

U.S. on Length of Trial.) The Government’s revised schedule anticipated an eight-week trial

which “includes time for defense cross-examination and selection of a jury.” (Id. at 1.) Even the

Government’s proposed time estimate “is based upon an expectation that as to each witness, the


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total length combined of defendant’s cross-examinations will not exceed the length of direct

examination.” (Id. at 3.)

       The Government has indicated on the record that it may call “anywhere between 50 and

70 witnesses in this case.” (4/2/19 Tr. at 48.) Many of these witnesses will be highly substantive

and will discuss in detail their own roles in a sprawling, complex tax fraud scheme and will also,

we believe falsely so, implicate Jacob Kingston and possibly other defendants in this scheme as

well. This sort of testimony will take a great deal of time for the Government to develop on its

direct examination and, as even the Government anticipates, an equal amount of time for the

defense to sufficiently challenge it on cross examination. We also do not know how many of this

type of witnesses the Government will call. Indeed, at this early stage the Government may

likewise not know how many it will call. If the Government calls, for instance, five such

witnesses, this is a vastly shorter trial than if the Government calls ten or more, which it may

choose to do. Also, the cross examinations of these witnesses would vary in length based on the

direct examination.

       As a related point, without the Jencks Act material and marked trial exhibits, the defense

is yet unaware of the nature, the content or the length of the Government’s case. We certainly

have broad notions of what the Government’s direct case will involve but we lack any specificity

in terms of who the witnesses will be or what they will say about the different defendants. We

also do not yet know what documentary evidence the Government will seek to admit by way of

trial exhibits or what cross examination, if any, would be related to such documentary evidence.

Moreover, based on the Government’s choice of witnesses and documents, the presentation of

evidence as part of the defendants’ direct cases can vary from being highly streamlined to being

more fulsome in nature.


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       In conclusion, our first objection to the Court’s Trial Order relating to the time allotted to

the parties is that at this juncture of the proceedings it is impossible to predict how long the case

will take to responsibly try and how much time each defendant will take to responsibly advance

the facts necessary as part of each defendant’s defense to the very serious allegations.

       2.      The Time Limits Proposed Impede on Defendants’ Right to a Fair Trial

       Our second objection is that we contend in a criminal case, it is most respectfully a

violation of the defendant’s constitutional rights to impose strict time limits on a criminal

defendant over the course of a whole trial, and it is especially problematic this far in advance of

trial and where, as here, the parties have shown a willingness and ability to reach consensus on

many central issues related to the pretrial and trial proceedings. There is no doubt that a trial

judge retains an inherent right to take appropriate measures to ensure that a trial runs efficiently

and orderly. However, in any criminal trial, much less one where the Government has already

stated on the record that it will seek a life sentence in the event of conviction for at least one of

the defendants, any effort to abridge a defendant’s ability to fully challenge the Government’s

evidence and to offer evidence on the defendant’s behalf, takes on a constitutional dimension.

       In US v. Schneider, 594 F. 3d 1219 (10th Cir 2010) the United States filed an

interlocutory appeal after the district court limited the time for the Government to present its

case. The parties estimated the case would take eight weeks. Without consulting the parties, and

over their objections, the District Court allotted each side 10 days, including cross examination.

The 10th Circuit found that the district court is “somewhat of an expert in the time that is required

to conduct litigation,” Id. at 1228 (citing Case v. Unified Schl. Dist. No. 233, Johnson County,

Kan., 157 F.3d 1243, 1256 (10th Cir. 1998), but nonetheless:




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       [I]t may be an abuse of the trial court’s discretion to exclude probative, non-
       cumulative evidence simply because its introduction will cause delay, and any
       time limits formulated in advance of trial must be fashioned with this in mind.
       Such limits should be sufficiently flexible to accommodate adjustment if it
       appears during trial that the court’s initial assessment was too restrictive.

Id. (citing Life Plus, 317 F.3d at 807) (quotations omitted). The Court explained that “‘[w]hen

there is an objection to the exclusion of evidence as a result of time limits, the record must show

a proper basis or explanation by the district court for the exclusion.’” Id. citing (Harris v. Chand,

506 F.3d 1135, 1141 (8th Cir.2007)).

       The Schneider court recognized that the district court must be aware of both “the

government's need to present its case” and “the potential for serious constitutional violations if

unreasonable limitations are imposed on the defendant's opportunity to defend against the

charges.” Id. Therefore, the pretrial order was vacated and the matter was remanded with the

direction that the district court proceed in a manner that “would accord a fair opportunity for the

government to present the entirety of its case and also provide the defendants adequate time to

present their defense.” Id. at 1229.

       Here, in a case where Jacob Kingston is charged with nearly every count in the sprawling

indictment, where the Government has stated they will ask for him to serve life in prison if

convicted, and where the Government has proposed nearly a month and a half for their direct

case, it is unconstitutional to provide Jacob Kingston only 24 hours to defend himself. Given the

demonstrated willingness and ability of the parties to agree on issues impacting the nature and

length of the trial, we believe the Court need not resort to the strict time limits in the Court’s

Order as way of ensuring the efficiency of the trial. Counsel in this case are highly experienced

trial lawyers and are intimately aware of one of the cardinal rules in trying cases: do not waste

the jury’s and the court’s time. Moreover, the parties have already shown that we can work


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collaboratively together to both save time and remove thorny issues from the court’s plate. The

Court will recall that last week, the parties took time over the lunch break to agree upon a fairly

comprehensive series of dates by which the parties also intend to reach agreements on the

admissibility of exhibits, stipulations as to record custodians, and other matters which will

streamline the trial.

        3.      Conclusion

        We are asking the Court to rely on the collective good will of all counsel and on our

proven ability to reach agreement on issues that will make the trial more efficient for all parties,

including the Court. At this stage, it appears that the court’s proposed time line for the trial as

commencing on July 29, 2019 and ending on or about October 4, 2019 is realistic. However, this

is an assessment that is made without the benefit of the Jencks Act material and without more

specific conversations with the prosecution about other aspects of the trial that will impact on its

duration. Again, and as is apparent from recent events, the prosecution and the defense have an

open line of communication, and have an ongoing dialogue on matters including stipulations,

agreed-upon admission of trial exhibits and other matters directly related to the length of the

trial. We ask that Your Honor allow this process to continue and that the Court refrain from

imposing time limits on the parties.




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 DATED this 11th day of April, 2019.


                                           Respectfully submitted,

                                           Brafman & Associates, P.C.

                                   By:     /s/
                                           Marc A. Agnifilo, Esq., Of Counsel
                                           Teny R. Geragos, Esq.

                                           Bugden & Isaacson, LLC

                                   By:     /s/
                                           Walter Bugden, Esq.




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                                        Certificate of Service
        I certify that on the 4th day of January 2019, I electronically filed the foregoing with the

Clerk of Court using the CM/ECF electronic filing system, which will send notice of electronic

filing to counsel of record in this case.


                                                      /s/ Teny Rose Geragos
                                                      TENY R. GERAGOS




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